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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                                       *
ELMER ADALY PONCE PINEDA
                                                       *
8757 Georgia Avenue, Suite 400
                                                       *
Silver Spring, Maryland 20910
                                                       *

                                                       *
       PLAINTIFF.
                                                       *


               V.                                      *      Case No:

COCO RICO, INC.
6701 Franconia Road. Unit R
Springfield, Virginia 22150

SERVE: Joseph Asmar
6701 Franconia Road, Unit R
Springfield, Virginia 22150

And


JOSEPH ASMAR
6701 Franconia Road. Unit R
Springfield, Virginia 22150

       DEFENDANTS
******************************************************************************

                                          COMPLAINT


       PlaintiffEhner Adaly Ponce Pineda ("Plaintiff), by and through undersigned counsel,

hereby submits his Complaint against Defendant Coco Rico. Inc. ("Coco Rico ) and Joseph

Asmar ("Mr. Asmar") (together, "Defendants"), to recover unpaid wages, liquidated damages,

reasonable attorney's fees and costs under Section 16(b) ol the I^ederal Fair Labor Standards Act

of 1938, as amended, 29 U.S.C. §§ 201 et seq. (hereinafter "FLSA") as set forth below.

                                    PARTIES AND JURISDICTION


        1.     Plaintiff is an adult resident of the Commonwealth of Virginia and by acting as

named plaintiff in this action does hereby affirm his consent to participate as a plaintiff in an

action under the FLSA and for relief as set forth herein.
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        2.     Coco Rico is a corporation formed under the laws of the Commonwealth of

Virginia.

        3.     At all times relevant to this action. Coco Rico operated continuously as a

restaurant in Springfield, Virginia.

        4.     At all times relevant to this action. Mr. Asmar, individually, was the primary

owner and managing officer of Coco Rico, in this capacity, Mr. Asmar individually was in

charge of Coco Rico's business operation. F-urther, during the relevant time period, Mr. Asmar

individually was Plaintiffs most .senior supervisor and manager and made all decisions or

directed the decision making relating to Plaintiffs schedule. Plaintilfs weekly hours worked.

Plaintiffs rate and method of compensation, and Mr. A.smar individually kept and maintained or

caused to be kept or maintained all employment records relating to Plaintif f.

        5.     At all times relevant to this action. Defendants had gross annual revenues

exceeding $500,000.00 and used in business operations goods and materials (in particular food

products that were used and handled by Plaintili and other employees in the course of their Vk'ork

duties) that originated from outside the Commonwealth of Virginia, and otherwise engaged in

interstate commerce such that Defendants qualified as an enterprise within the meaning of the

FLSA.


        6.     At all times, both Defendants legally qualified as Plaintiffs employers under

FLSA.


        7.     Jurisdiction and Venue is proper in this Court because it is predicated upon a

Federal Question and more specifically Plaintiffs cause of action against Defendants seeking

relief under the FLSA arising out of acts and omissions occurring primarily in and around

Springfield, Virginia.
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                                              FACTS


       8.       Plaintiff was employed by Defendants as a cook for the period of about 2012

through about August 2017 (150 weeks in the 3-year statutory recovery period).

       9.       For the period of his employment. Plaintiffs exact schedule varied slightly from
week to week.


       10.      While employed. Plaintiff typically and customarily worked about seventy-seven

(77) hours per week under the following schedule: Monday: 9:00 AM - 10:00 PM (30-minute

lunch); Tuesday: 8:00 AM - 10:00 PM (30-minute lunch); Wednesday:             8:00 AM - 10:00 PM

(30-minute lunch): Thursday: 8:00 AM - 10:00 PM (30-minute lunch); Friday: 8:00 AM - 10:00

PM (30-minute lunch); Saturday: 8:00 AM - 3:00 PM (no lunch period); and Sunday: No work.

       11.      While employed. Defendants paid Plaintiff as an hourly employee.

       12.      While employed. Plaintiffs hourly rate began at $8.50 per hour and, through

periodic raises, concluded at about $12.00 per hour.

        13.     Defendants violated the FLSA time-and-one-half overtime pay requirement

because Defendants paid Plaintiff straight pay at his regular hourly rate for all hours Plaintiff
worked each week including overtime hours worked over forty (40) per week.

        14.     At all times. Defendants were fully aware of the FLSA overtime pay requirement.

        15.     During the period of Plaintiffs employment. Defendants willfully attempted to
circumvent the FLSA overtime law by paying Plaintiff partially (about 20 - 30 hours per week)

by payroll and paying Plaintiff the balance of his weekly wages by non-payroll company check
and/or cash.


        16.     Defendants now owe Plaintiff his unpaid "half time" overtime wage premiums for

all hours he worked over forty (40) per week.
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        17.    For the 3-year statutory recovery period. Defendants owe Plaintiff unpaid FLSA

overtime wages in the amount of about thirty thousand dollars ($30,000.00).

        18.    Defendants' failure to pay Plaintiffovertime wages as required by law was not the

result of any good faith mistake or omission.

        19.    At all times. Defendants had knowledge that Plaintiff was owed time-and-one-

half wages for hours worked over forty (40) per week.

        20.    Defendants* failure to pay Plaintiff wages as required by the FLSA was willful

and knowing.

                                     CAUSES OF ACTION
                       (Violation of Federal Fair Labor Standards Act)

        21.    Plaintiff re-alleges and reasserts each and every allegation set lorth above as if

each were set forth herein.

        22.    As set forth above, while in Defendants' employ. Plaintiff regularly and

customarily worked overtime in excess of forty (40) hours per week.

        23.    As set forth above, while in Defendants* employ. Defendants failed to

compensate Plaintiff at the FLSA required rate for overtime hours worked over forty (40) per
week.


        24.    Defendants' failure to pay Plaintiff as required by the FLSA was willful and

intentional, and was not in good faith.

        WHEREFORE, Defendants are liable,jointly and severally, to Plaintiff for unpaid

required FLSA wages in the amount of thirty thousand dollars ($30,000.00) or in such other

amount as is proven at trial, plus an equal amount ($30,000.00) in liquidated damages, interest

(both pre- and post-judgment), reasonable attorney's fees, the costs of this action, and any other

and further relief this Court deems appropriate.
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                                     Respectfully submitted,



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                                     Counsel for Plaintiff
